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UNITED STATES DISTRICT COURT

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NUANCE COMMUNICATIONS, INC., ) CASE NO.: C 08-2912 JSW
)
Plaintiff, ) ORDER GRANTING
) APPLICATION FOR ADMISSION OF
v. ) ATTORNEY PRO HAC VICE
)
ABBYY SOFTWARE HOUSE, et al., )
)
Defendant(s). )
)
)
)
)

 

Franklin Rubenstein, an active member in good standing of the bars of the State of
Maryland and the District of Columbia, Whose business address and telephone number are
Wilson Sonsini Goodrich & Rosati, 1700 K Street, NW, Fifth Floor, Washington, DC 20006,
(202) 973-8800, having applied in the above-entitled action for admission to practice in the
Northem District of California on a pro hac vice basis, representing Nuance Communications,

lnc.,

IT IS HEREBY ORDERED THAT the application is granted, subject to the terms and
conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate appearance pro hac
vice. Service of papers upon and communication With co-counsel designated in the application

will constitute notice to the party. All future filing in this action are subject to the requirements
contained in General Order No. 45, Electronic Case Filing.

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Jud J‘l r. e S. White, U.S. District Judge

     

Dated: q' 2 q' op

 

 

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CASE NO. C 08-02912 JSW

 

